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             Exhibit 
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435 N.E.2d 226, 61 Ill.Dec. 737



                                                     105 Ill.App.3d 1023
                                          Appellate Court of Illinois, Second District.

                                  PEOPLE of the State of Illinois, Plaintiff-Appellee,
                                                         v.
                                    Johnnie L. SAVORY, Defendant-Appellant.

                                                          No. 81-465.
                                                               |
                                                         May 5, 1982.
                                                               |
                                                Rehearing Denied May 28, 1982.

Synopsis
Defendant was convicted in the Circuit Court, Peoria County, Stephen Covey, J. P., of murder, and he appealed. The Appellate
Court, Stouder, P. J., 82 Ill.App.3d 767, 38 Ill.Dec. 103, 403 N.E.2d 118, reversed and remanded. On remand, defendant was
again convicted before the Circuit Court, Lake County, Stephen Covey, J., of two offenses of murder, and he again appealed.
The Appellate Court, Nash, J., held that (1) defendant was in custody and should have been given Miranda warnings at third
questioning session; (2) in view of testimony relating to defendant's admissions of his presence and complicity in killings,
admission of statements defendant made to police prior to being advised of his rights was harmless error; (3) use of defendant's
statement that he did not want to talk to police to draw direct inference of guilt was improper, but such portion of closing
argument was harmless error; (4) challenged actions of trial counsel were in matters involving trial tactics and strategy and
insufficient to support claim of ineffective representation; and (5) error, if any, in admission of witness' testimony regarding
defendant's going to see his probation officer was waived and admission was not plain error on record.

Affirmed.


Attorneys and Law Firms

*1025 **228 ***739 Mary Robinson, Deputy State Appellate Defender, Elgin, Theodore A. Gottfried, State Appellate
Defender, Springfield, for defendant-appellant.

John X. Breslin, State's Atty. Assoc., Gerry R. Arnold, Asst. State's Atty., Appellate Service Com'n, Ottawa, John A. Barra,
State's Atty., Peoria, for plaintiff-appellee.

Opinion

NASH, Justice:

Defendant, Johnnie Lee Savory, was convicted following a jury trial in the circuit court of Lake County of two offenses of murder
and was thereafter sentenced to concurrent terms of 40 to 80 years imprisonment. He appeals, contending (1) his statements to
police were elicited in violation of his Miranda rights; (2) the State was improperly allowed to introduce evidence and comment
upon defendant's exercise of his right not to make a statement to police; (3) evidence suggesting defendant had previously
committed another crime was admitted; and (4) defendant's trial attorney failed to provide him effective assistance of counsel.

Defendant's first conviction of the January 18, 1977, murders of James Robinson, Jr. and Connie Cooper in Peoria County was
reversed on appeal and remanded for a new trial (People v. Savory (1980), 82 Ill.App.3d 767, 38 Ill.Dec. 103, 403 N.E.2d 118).




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The Illinois Supreme Court denied leave to appeal ((1980), 81 Ill.2d 598), the United States Supreme Court denied certiorari
((1981), 449 U.S. 1101, 101 S.Ct. 896, 66 L.Ed.2d 827) and the cause was transferred to Lake County for retrial.

Defendant was 14 years of age at the time of these offenses. On January 25, 1977, one week after the victims' bodies were
discovered, (they had been killed by stabbing between 8 and 9 a.m. on January 18) two police officers met with defendant at
3:30 p.m. at his school in a room adjacent to the principal's office. The officers told defendant they wished *1026 to speak
to him in regard to the deaths of Connie Cooper and James Robinson, and defendant first responded he did not want to talk to
them or give any statements. The officers persisted and advised defendant he may have been one of the last persons to see the
victims while they were still alive and might give the police some leads as to the perpetrator of the murders. He then agreed to
give an account of his activities on the day prior to the murders.

Defendant informed the officers he had met James Robinson at school on January 17 around 3:30 p.m.; the pair had gone to
the Robinson residence arriving at 7 p.m.; they had taken some corn and hot dogs out of the refrigerator, prepared and ate this
meal and after finishing they placed a television set on the floor and practiced Kung Fu in the living room. The two left the
Robinson residence for a few hours but returned to practice Kung Fu and defendant told the officers he left at 11 p.m., walked
home and later spoke to Robinson on the telephone until around 1:30 a.m. Defendant said Robinson asked him to return at 8
the next morning but that he did not do so. Defendant also indicated to the **229 ***740 police that he and Robinson were
close friends and he had known him and Miss Cooper for many years.

At approximately 4 p.m. at the school, the officers asked defendant to return with them to the police station for a meeting with
other officers working on the case, and he agreed. Defendant was not placed under arrest or handcuffed, nor was there a show
of weapons or force at this or any later time. On the drive to the station, defendant suggested they stop at his father's house
so he could show them a knife that was similar to one owned by Robinson and the officers agreed. Defendant was allowed to
enter the home alone, and he returned without the knife saying his father must have it with him and was not at home. At 5 p.
m. defendant was brought into an interrogation room at the police station and he repeated his previous story in the presence
of four officers until about 5:30 p. m.

Following this second interrogation defendant was given two sodas and ate part of a candy bar and was allowed to go to the
restroom unaccompanied. One of the officers returned to defendant's home and retrieved a knife from defendant's father who told
the officers that it was his knife and that defendant had committed no crime. The officers noted certain discrepancies between
other information received relating to the case and defendant's story; one officer testified he knew at this time that defendant
was not being truthful with them. At 6 p. m. defendant was again interviewed by officers in the police station. In this 45-minute
session the officers called to defendant's attention certain discrepancies between known facts and defendant's statement to them:
(1) that defendant had stated he and Robinson were very close friends and he had known Robinson and Cooper for years; (2) that
he and Robinson had cooked a *1027 meal on the evening of January 17; and (3) that he had telephoned Robinson and talked
to him until 1:30 a. m. on January 18. When confronted with information challenging these portions of his story, defendant
admitted he had been lying to the officers during some parts of the earlier interview. Thereafter, from 10 p. m. until 11 p. m.,
defendant was questioned by a polygraph examiner and, after the results were made known to the police, they arrested him for
murder and first advised him of his Miranda rights.

At defendant's first trial his motion to suppress the statements made by him on January 25, and a confession given by him on
the following day, was denied. On his first appeal defendant sought review of the denial of his motion to suppress, but only as
to the confession given on the second day of his interrogation, and the appellate court reversed on grounds it should have been
excluded as involuntary. On retrial, defense counsel urged that evidence of the first day's conflicting statements should also be
suppressed, but the trial court declined to do so finding defendant was not in custody when those statements were made.

At trial, in addition to the January 25 statements to the officers, three acquaintances of defendant testified that he had told them
on the day of the murders that he had stabbed the victims and they were dead. These admissions by defendant were made at
a time when the bodies had not yet been discovered and included descriptions of the victims' multiple stab wounds consistent



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with those depicted in photographic and other evidence of the crime scene. Evidence was also presented that defendant had a
knife (which he had with him when he admitted his complicity to one of the witnesses), and that type A blood matching that of
one of the victims, but not defendant, was found on a pair of pants from defendant's residence. Defendant did not testify in trial
but presented evidence of an alibi and sought to blame the victims' step-father for the murders.

We consider first defendant's contention that his motion to suppress his statements to the police on January 25 should have
been granted because the officers failed to comply with the requirements of Miranda v. Arizona (1966), 384 U.S. 436, 86 S.Ct.
1602, 16 L.Ed.2d 694.

 **230 ***741 The State initially points out that defendant's similar motion was denied in his first trial and, as he did not
seek review of that portion of the order of the trial court, it became res judicata and the law of the case and he has waived or is
collaterally estopped from doing so now. We must disagree. It is true that these doctrines bar relitigation of an unappealed order
denying a motion to suppress, but they only do so in the absence of exceptional circumstances. (People v. Armstrong (1973),
56 Ill.2d 159, 161, 306 N.E.2d 14, 15; People v. Eckmann (1978), 60 Ill.App.3d 300, 302, 17 Ill.Dec. 657, 658, 376 N.E.2d
751, 752.) Here such circumstances were present inasmuch as the January 25 statements which defendant sought to suppress
in the *1028 second trial were not relied upon by the prosecution in the first trial and, necessarily, the issue of suppression
of evidence which could not have contributed to his first conviction would have been considered moot on review in the first
appeal. See People v. Hopkins (1972), 52 Ill.2d 1, 284 N.E.2d 283.

The trial judge in denying defendant's motion to suppress in his second trial determined Miranda was inapplicable to defendant's
January 25 statements because he was not in custody when they were given. Custodial interrogation, which the Miranda decision
governs, means “questioning initiated by law enforcement officers after a person has been taken into custody or otherwise
deprived of his freedom of action in any significant way.” (384 U.S. 436, 444, 86 S.Ct. 1602, 1612, 16 L.Ed.2d 694, 706; People
v. Brownson (1982), 103 Ill.App.3d 476, 59 Ill.Dec. 243, 431 N.E.2d 744.) In determining whether a statement was made in
a custodial setting, the court must look to all of the circumstances surrounding the questioning, with no single factor deemed
controlling, and then objectively evaluate whether a reasonable, innocent person would have believed he was free to leave or
was expressly or impliedly bound to remain in the presence of police. People v. Wipfler (1977), 68 Ill.2d 158, 166, 11 Ill.Dec.
262, 265, 368 N.E.2d 870, 873; People v. Cart (1981), 102 Ill.App.3d 173, 183, 57 Ill.Dec. 655, 664, 429 N.E.2d 553, 562; see
also People v. Kennedy (1978), 66 Ill.App.3d 267, 22 Ill.Dec. 905, 383 N.E.2d 713.

 Numerous factors are to be considered in this inquiry: the location (e.g., People v. Hentz (1979), 75 Ill.App.3d 526, 31 Ill.Dec.
384, 394 N.E.2d 586), time (Cummings v. State (1975), 27 Md.App. 361, 341 A.2d 294), length (State v. Skiffer (1969), 253
La. 405, 218 So.2d 313), mood and mode (People v. Bailey (1973), 15 Ill.App.3d 558, 304 N.E.2d 668 (including extent of
knowledge of facts possessed by police)) of the interrogation; the number of police officers present (United States v. Kennedy
(9th Cir. 1978), 573 F.2d 657; People v. Szerletich (1980), 86 Ill.App.3d 1121, 42 Ill.Dec. 389, 408 N.E.2d 1098) and the
presence or absence of friends or family of the accused (People v. Bryant (1967), 87 Ill.App.2d 238, 231 N.E.2d 4); any indicia
of formal arrest of the subject including physical restraint, show of weapons or force, booking, fingerprinting or informing the
person he is under arrest (see People v. Burris (1971), 49 Ill.2d 98, 273 N.E.2d 605); the manner in which the person questioned
got to the place of interrogation, i.e., voluntarily on his own, in response to a police request, or on a verbal command indicating
compulsion (see State v. Cassell (Alas.1979), 602 P.2d 410); whether he voluntarily assists police in their investigation (see
People v. Cart (1981), 102 Ill.App.3d 173, 57 Ill.Dec. 655, 429 N.E.2d 553); whether the subject is allowed to walk within
and from the location of the interrogation unaccompanied by police (People v. Mrozek (1977), 52 Ill.App.3d 500, 10 Ill.Dec.
330, 367 N.E.2d 783); and the age, intelligence and mental makeup of the accused ( *1029 People v. Szerletich (1980), 86
Ill.App.3d 1121, 42 Ill.Dec. 389, 408 N.E.2d 1098). We must then apply the objective test and these factors to defendant's
interviews by the officers.

 Defendant was first questioned at his school in a room adjacent to the principal's office, a less coercive environment than a
police station, in the daytime and for about one-half hour; the questioning appeared to be inquisitory rather than accusatory.
 **231 ***742 Two officers and defendant were present and there was no indicia of arrest. He may not be considered to



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be in custody at his school. (See People v. Shipp (1968), 96 Ill.App.2d 364, 239 N.E.2d 296.) Thereafter, he responded to a
police request to come down to the police station to give his information to other officers. On the way, he volunteered to go to
his house to look for a knife, and he was allowed to do so while the officers remained in their vehicle. His second half-hour
interview with the four officers at the police station again appears to be of an inquisitory nature on their part seeking information
which might assist in their investigation, but not focusing on defendant as the offender. We conclude defendant was still not
in custody during this period.

The third interview commencing at 6 p. m. presents different circumstances. Like the second it occurred in a small interrogation
room in the police station and lasted about three-quarters of an hour. Defendant had by then been with the police for over two and
one-half hours. The officers, however, became accusatory as they began doubting defendant's account and they suggested they
had reliable information discounting his version of the events. (See State v. Menne (La.1980), 380 So.2d 14, cert. denied (1980),
449 U.S. 833, 101 S.Ct. 104, 66 L.Ed.2d 39. Although defendant had not been formally arrested, physically restrained, booked,
or fingerprinted, a reasonable person might well have believed at the third interview, when his story was being discounted, that
he was in police custody. While not determinative, the fact that the officers testified defendant was not free to leave the police
station (although they did not so inform him) is of some relevance to our inquiry. (People v. Szerletich (1980), 86 Ill.App.3d
1121, 1128, 42 Ill.Dec. 389, 396, 408 N.E.2d 1098, 1103.) Similarly, that defendant was but 14 years of age at this time must
be considered.

 We conclude that at the third session when the officers, who testified they then knew defendant was not being truthful with
them, so informed him and pointed out discrepancies between defendant's version and their own information, he was in custody
and should have been given Miranda warnings. See People v. Townes (1982), 91 Ill.2d 32, 61 Ill.Dec. 614, 435N.E.2d 103.

 The State argues that when the officers confronted defendant with the discrepancies in his story this did not constitute
interrogation and Miranda is inapplicable. However, interrogation includes express questioning and “any words or actions on the
part of the police * * * that *1030 (they) should know are reasonably likely to elicit an incriminating response.” (Rhode Island
v. Innis (1980), 446 U.S. 291, 301, 100 S.Ct. 1682, 1689, 64 L.Ed.2d 297, 308.) Confronting defendant with the discrepancies
in his story was, in our view, the functional equivalent of express questioning under Innis. See People v. Burson (1980), 90
Ill.App.3d 206, 45 Ill.Dec. 578, 412 N.E.2d 1160.

 The State does not expressly argue that any error in admitting defendant's first day statements was harmless, but points out
he made no inculpatory statements prior to receiving the Miranda warnings. The reviewing court on defendant's first appeal
also noted he made no incriminating statements until the second day of his interrogation. (See People v. Savory (1980), 82
Ill.App.3d 767, 770, 38 Ill.Dec. 103, 106, 403 N.E.2d 118, 121, cert. denied (1981), 449 U.S. 1101, 101 S.Ct. 896, 66 L.Ed.2d
827.) We have reviewed defendant's statements to police on the first day of questioning prior to being advised of his rights and
find he gave an exculpatory narrative of events of the day prior to the murders and subsequently admitted he had lied regarding
three collateral facts: who had cooked the evening meal, whether the defendant and Robinson were very good friends who had
known each other for years and whether defendant telephoned Robinson later the evening before the latter's death. In view of
the testimony of the three witnesses who related defendant's admissions to them of his presence and complicity in the killings,
we consider the admission of these statements in trial to be harmless error beyond a **232 ***743 reasonable doubt. See
People v. Gan (1979), 75 Ill.App.3d 72, 31 Ill.Dec. 409, 394 N.E.2d 611.

Defendant next contends error occurred when the State offered testimony that defendant, after being asked at school if he knew
anything in regards to the victim, James Robinson, stated “he didn't want to talk about it, he didn't want to make any statements”
and the prosecutor commented in closing argument:

  “I believe you heard that on that date of January 25th, 1977, Officers George Pinkney and Edgar Hanes went to the Late
  Afternoon School to talk to Johnnie Savory, who they thought might have some information regarding the case. They asked
  him that afternoon about 3:30, they wanted to talk to him about (Robinson), what he might know. The Defendant, what did he
  say at that time, ladies and gentlemen? ‘I don't want to talk about it. I won't make any statements.’ This, ladies and gentlemen,
  the apparent good friend of his, he doesn't want to talk about it, doesn't want to help the police at that time.”


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Defendant raises both constitutional and general evidentiary grounds in contending the evidence and argument combined to
deprive him of a fair trial.

 *1031 We note initially that this case involves more than impeachment with and comment upon defendant's silence; rather,
his express statement he did not wish to talk to the officers was offered as direct evidence of his guilt. Furthermore, defendant
made this statement prior to being either arrested or under custodial detention and before he was advised of his Miranda rights.
These circumstances distinguish the case from Jenkins v. Anderson (1980), 447 U.S. 231, 100 S.Ct. 2124, 65 L.Ed.2d 86; Doyle
v. Ohio (1976), 426 U.S. 610, 96 S.Ct. 2240, 49 L.Ed.2d 91; and the many Illinois cases considering pre and post-custodial
detention silence used for purposes of impeaching a defendant's trial testimony (see People v. Adams (1981), 102 Ill.App.3d
1129, 58 Ill.Dec. 325, 430 N.E.2d 267; People v. Malkiewicz (1980), 86 Ill.App.3d 417, 41 Ill.Dec. 701, 408 N.E.2d 47). We
have been directed to or discovered only three cases which have considered the constitutional aspects of the introduction of
evidence and comment thereon drawing an inference of guilt from silence or from a refusal to speak with police prior to the
accused being warned of Miranda rights, arrested or otherwise held in custody. Compare United States v. Henderson (5th Cir.
1978), 565 F.2d 900 (applying post-arrest cases and principles to find reversible error) with Jenkins v. Anderson (1980), 447
U.S. 231, 100 S.Ct. 2124, 65 L.Ed.2d 86 (no constitutional issue is presented; instead, question is purely an evidentiary one of
relevancy) and United States v. Robinson (E.D.N.Y.1981), 523 F.Supp. 1006 (no constitutional issue presented).

There is no need here to address the constitutional question as under general evidentiary principles the evidence and argument
was erroneous. In People v. Wright (1975), 32 Ill.App.3d 736, 741, 336 N.E.2d 18, 22, where evidence a defendant in similar
circumstances had refused to answer questions was admitted the appellate court reversed, noting:

   “Long before the United States Supreme Court held, in Miranda v. Arizona (1966), 384 U.S. 436, 16 L.Ed.2d 694, 86 S.Ct.
   1602, that defendants have a right to remain silent in the face of police interrogation, the Illinois Supreme Court held it was
   error for the State to offer testimony as to defendants' refusal to make a statement. In People v. Rothe (1934), 358 Ill. 52,
   57, 192 N.E. 777, this refusal had been offered, as here, by the testimony of an officer. As clarification for its reversal, the
   court stated ‘the fact that (the defendants) refused to make a statement had no tendency to either prove or disprove the charge
   against them. The admission of this evidence was prejudicial, and since it was neither material nor relevant to the issue being
   tried it should have been excluded.’ This rule was reaffirmed by the court in People v. Lewerenz (1962), 24 Ill.2d 295, 299,
   181 N.E.2d 99.”
 **233 ***744 Later in People v. Rehbein (1977), 54 Ill.App.3d 93, 11 Ill.Dec. 736, 369 N.E.2d 190, aff'd (1978), 74 Ill.2d
435, 24 Ill.Dec. 835, 386 N.E.2d 39, cert. denied *1032 (1979), 442 U.S. 919, 61 L.Ed.2d 287, 99 S.Ct. 2843, the court noted
the rule set forth in Rothe and Wright did not depend upon whether the defendant's silence, which the State utilized, occurred
prior in time to the point when he became entitled by his custody to receive Miranda warnings.

The State's reliance upon People v. LaSumba (1980), 92 Ill.App.3d 621, 47 Ill.Dec. 202, 414 N.E.2d 1318, is misplaced as that
court noted that the prosecution did not draw an inference of guilt from defendant's behavior when he walked into a police
station, said he had killed his wife, but then remained silent when an officer asked if there was anything else he could tell them.
The prosecutor in closing argument had briefly mentioned the defendant's failure to respond but did not, as here, also offer to
the jury an inference that defendant did not wish to make a statement because he was guilty of the offense.

 The use by the State of defendant's statement that he did not want to talk to the police from which to draw a direct inference
of guilt was improper. However, we have considered the State's closing argument as a whole and conclude this portion to be
harmless error beyond a reasonable doubt in view of the other clear evidence of defendant's guilt. Chapman v. California (1967),
386 U.S. 18, 87 S.Ct. 824, 17 L.Ed.2d 705; People v. Hairston (1980), 86 Ill.App.3d 295, 299-300, 42 Ill.Dec. 4, 8, 408 N.E.2d
382, 386.

Defendant also contends he was not afforded effective assistance of counsel in trial asserting his attorney was actually
incompetent in carrying out his duty to him to his substantial prejudice. See People v. Lovitz (1981), 101 Ill.App.3d 704, 710,
57 Ill.Dec. 177, 181, 428 N.E.2d 727, 731.



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At trial, evidence was introduced that a pair of pants found in defendant's house had type A blood stains on them matching the
blood type of one of the victims, but not defendant. Defendant's father testified the pants were his and the blood stains were
made by him. Defense counsel did not produce evidence or a stipulation, as had been done in the first trial, that the father's blood
was type A. The State also introduced in evidence the knife defendant's father had given to police and argued it was defendant's
knife. Defense counsel did not elicit from the officer who received the knife the fact the father had told the police the knife was
his rather than defendant's. Also, it is asserted defense counsel did not seek a trial court ruling on whether the reviewing court's
opinion in the first appeal was based upon the involuntariness of defendant's statements or merely a Miranda violation which
would allow the State to offer them to impeach defendant. The appellate defender now suggests defendant was not called to
testify on his own behalf because of the uncertainty of this possible basis for impeachment.

 We conclude each of these matters involved trial tactics and strategy, requiring the exercise of professional judgment, and
are insufficient to support a claim of ineffective representation of counsel. ( *1033 People v. Haywood (1980), 82 Ill.2d
540, 543-44, 45 Ill.Dec. 932, 934, 413 N.E.2d 410, 412; People v. Greer (1980), 79 Ill.2d 103, 122, 37 Ill.Dec. 313, 320, 402
N.E.2d 203, 212.) The State did not rebut defendant's father's testimony that the pants and blood were his, not defendant's,
and further proof was unnecessary. As to the impeachment of witnesses we will not second-guess trial counsel who may have
considered their testimony was not credible as given and did not want to risk permitting them to cure any deficiencies on
further cross-examination. Moreover, defendant may well have decided not to testify because of factors unrelated to his potential
impeachment.

We turn finally to defendant's contentions related to the admission of evidence of other offenses and his attorney's failure to
object thereto or to impeach the witness.

 Tina Ivy testified that she was with defendant on the day of the murders and that when they separated he was going to see his
probation officer. Defense counsel **234 ***745 did not object nor did he raise this matter in the written post-trial motion.
Further, defendant's probation officer was not then called to impeach Tina Ivy's testimony as to the time of day defendant arrived
to see him. Defendant suggests the admission of this testimony was improper as other-crimes evidence, but we note this matter
was waived and find it is not plain error on this record. Furthermore, counsel's failure to object or to then impeach by calling
defendant's probation officer appears to have been designed to avoid highlighting the inadvertent disclosure defendant was on
probation.

Accordingly, the judgment of the circuit will be affirmed.

Affirmed.



REINHARD and UNVERZAGT, JJ., concur.

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